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3
                                   UNITED STATES DISTRICT COURT
4
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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6    CENTRAL SIERRA ENVIRONMENTAL                            1:17-cv-00441-LJO-SAB
     RESOURCE CENTER, et al.,
7                                                            ORDER SUBSTITUTING PARTY
                               Plaintiffs,
8
                        v.
9
     STANISLAUS NATIONAL FOREST, et al.,
10

11                             Defendants.
12

13          The Court takes judicial notice that Jeanne M. Higgins is no longer Forest Supervisor of

14 Stanislaus National Forest and that Jason Kuiken is presently the Forest Supervisor of Stanislaus

15 National Forest. Pursuant to Federal Rule of Civil Procedure 25, “[a]n action does not abate when a

16 public officer who is a party in an official capacity dies, resigns, or otherwise ceases to hold office while

17 the action is pending. The officer’s successor is automatically substituted as a party.” Fed. R. Civ. P.

18 25(d). The Court “may order substitution at any time.” Id. Accordingly, IT IS HEREBY ORDERED

19 that Jason Kuiken is substituted for Jeanne M. Higgins as a defendant in this action.

20 IT IS SO ORDERED.

21      Dated:     August 6, 2019                            /s/ Lawrence J. O’Neill                _
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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